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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                   HARRISON DIVISION

ALICE L. GEORGE, et. al.                                                   PLAINTIFFS

v.                                     NO. 3:13-CV-03058-PKH

ALBERT M. DAVIS, et. al.                                                   DEFENDANTS

                        MOTION FOR DEFAULT JUDGMENT AGAINST
                        SEPARATE DEFENDANT KDL MEDICAL, INC.

         Comes now the Plaintiffs, Alice L. George, Individually and as Trustee For The Burton

O. George Revocable Trust and First National Bank Of North Arkansas, Custodian of the Alice

George Individual Retirement Account f/k/a the Burton O. George Individual Retirement

Account, by and through their attorneys, Kutak Rock, LLP, and for their Motion for Default

Judgment against Separate Defendant KDL Medical, Inc. (“KDL”), pursuant to Rule

55(b)(2)(A)(B)(C)(D) of the Federal Rules of Civil Procedure, states:

         1.        On July 29, 2014, Plaintiffs filed their Second Amended Complaint and Demand

for Jury Trial [Dkt. 101] against KDL and the other defendants herein for Fraud/Constructive

Fraud and Intentional Misrepresentation by Mr. Davis and Chase Entities, Conversion, Breach of

Contract as to the Bonds and Notes Only, Unjust Enrichment, Breach of Fiduciary Duties,

Piercing the Corporate Veil, Civil Conspiracy, Civil RICO, Violation of the Arkansas Deceptive

Trade Practices Act – All Defendants, Fraudulent Transfers, and for a Temporary Restraining

Order/Constructive Trust. Plaintiffs’ Second Amended Complaint seeks judgment against all

Defendants, the issuance of a temporary restraining order and preliminary injunction against

Defendants requiring that all monies due to Plaintiffs be held in trust, and prohibiting them from

removing, transferring, concealing, or disposing of any such monies; an award of reasonable



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costs and attorneys’ fees; and such further and additional relief as the Court may deem just and

equitable.

         2.        On October 17, 2014, Plaintiffs effectuated service upon KDL by serving the

Summons and Complaint on its registered agent, who is designated by law to accept service of

process on behalf of KDL pursuant to Rule 4(h)(1)(B) of the Federal Rules of Civil Procedure.

A Proof of Service [Dkt. 128] was filed herein on October 21, 2014.

         3.        KDL is neither a minor nor an incompetent person.

         4.        KDL has failed to file an answer or otherwise appear and defend this action

within twenty-one (21) days of service as required by Rule 12(a)(1)(A)(i) of the Federal Rules of

Civil Procedure. KDL did file a motion to dismiss [Dkt. 142-1], but did so on November 24,

2014, eighteen (18) days after the time to answer or otherwise plead had expired. To date, KDL

has failed to file an answer.

         5.        Therefore, pursuant to Rule 55(b)(2)(A)(B)(C)(D) of the Federal Rules of Civil

Procedure, Plaintiffs are entitled to a default judgment and a hearing to conduct an accounting;

determine the amount of damages; establish the truth of any allegation by evidence; or

investigate any other matter.

         6.        A brief in support is being filed herewith and incorporated herein as if set forth

word for word.

         WHEREFORE, Plaintiffs Alice L. George, Individually and as Trustee For The Burton

O. George Revocable Trust and First National Bank Of North Arkansas, Custodian of the Alice

George Individual Retirement Account f/k/a the Burton O. George Individual Retirement

Account pray for the entry of a default judgment against Separate Defendant KDL Medical, Inc.

in the amount of $1,469,750.00, or actual damages in an amount to be determined at trial, the


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issuance of a temporary restraining order and preliminary injunction against Defendants

requiring that all monies due to Plaintiffs be held in trust, and prohibiting them from removing,

transferring, concealing, or disposing of any such monies; an award of reasonable costs and

attorneys’ fees; a hearing to conduct an accounting, determine the amount of damages, establish

the truth of any allegation by evidence, or investigate any other matter; and such further and

additional relief as the Court may deem just and equitable, and for any and all other relief to

which Plaintiffs are entitled whether specifically prayed for herein or not.

Dated this 10th day of December, 2013.

                                              KUTAK ROCK LLP

                                              Respectfully submitted,

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                                              First National Bank Of North Arkansas, Custodian
                                              of The Alice George Individual Retirement Account
                                              f/k/a The Burton O. George Individual Retirement
                                              Account
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 10th day of December, 2014, a true and correct copy of the
above and foregoing document was electronically transmitted to the Clerk of the Court using the
CM/ECF System for filing which gives automatic notice to any counsel registered with the Court
for this particular case and that a copy was mailed via U.S. Mail and emailed to all Pro Se
Defendants and counsel not registered with the Court.


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